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4
     Terry A. Dake - 009656
5
     Attorney for Trustee
6
                        IN THE UNITED STATES BANKRUPTCY COURT
7
                               FOR THE DISTRICT OF ARIZONA
8
     In re:                               )      In Chapter 7 Proceedings
9                                         )
     MARK J. SWARTZ;                      )      Case No. 2:18-BK-07157-DPC
10                                        )
                            Debtor.       )
11                                        )

12                             REPLY IN SUPPORT OF
                            MOTION TO COMPEL COMPLIANCE
13                             WITH 11 U.S.C. §521

14              The trustee submits this reply in support of this motion to

15   compel compliance with 11 U.S.C. §521 at Admin. Dkt. No. 35.                    The

16   debtor’s response is at Admin. Dkt. No. 39.              The trustee’s reply is

17   more fully set forth in and is supported by the following Memorandum

18   Of Points and Authorities.

19              DATED October 22, 2018.

20                                        TERRY A. DAKE, LTD.

21                                        By /s/ TD009656
                                              Terry A. Dake – 009656
22                                            20 E. Thomas Rd.
                                              Suite 2200
23                                            Phoenix, Arizona 85012-3133
                                              Attorney for Trustee
24
                         MEMORANDUM OF POINTS AND AUTHORITIES
25
                1.    Verification of Social Security Number
26
                The   debtor    finally       provided   verification   of   his   social
27
     security number today.        As a result, that issue is moot.
28
1               2.    The 2009 Mercedes
2               When the debtor filed for bankruptcy, the 2009 Mercedes which
3    he owned became property of the estate.             11 U.S.C. §541; Admin. Dkt.
4    No. 1, Schedule B, Item 3.2.         That is true reqardless of whether it is
5    encumbered by a lien or not.
6               In this case, the trustee believes that the alleged lien is
7    avoidable.1     So, the trustee filed a motion and obtained and order to
8    prevent the Mercedes from exiting the estate. See, Admin. Dkt. Nos. 22,
9    29.   Thus, the Mercedes remains property of the estate without regard
10   to the alleged lien.
11              Despite the fact that the Mercedes is property of the estate,
12   the debtor took it upon himself to sell this asset post-petition.                 A
13   copy of the bill of sale dated June 20, 2018, one day after the
14   petition was filed, is attached to the trustee’s motion.               And, to make
15   matters worse, the debtor agreed to accept installment payments from
16   the buyer.
17              Since    this   vehicle    is   estate    property,   the    trustee   is
18   entitled to the money that the debtor has and continues to receive from
19   the vehicle.       Who ultimately gets that money - the trustee, or the
20   alleged lien holder - is an issue for the trustee and the alleged lien
21   holder.   But, the one party who has no dog in that fight is the debtor,
22   yet the debtor is the one with the money.
23              The debtor seems to believe that it is his place to carry the
24   torch for the alleged lien holder.             And, the debtor seems to think he
25

26         1
              A lien avoidance demand was sent to the lien holder on
27   October 8, 2018. To date, there has been no response.

28                                              2
1    is entitled to use the lien to stiff arm the trustee.                   There is no
2    factual or legal basis for the debtor’s actions.                The debtor has no
3    standing   to   assert   the   rights    of   the   alleged   lien    holder   (David
4    Swartz), nor does the existence of this disputed lien diminish the
5    estate’s rights in this asset or its proceeds.                The trustee controls
6    this asset, and the proceeds of this asset, unless and until the lien
7    is allowed and the vehicle is removed from the estate.
8               Not surprisingly, the debtor cites not one statute, nor one
9    judicial opinion, that agrees with the debtor’s position that he is
10   entitled to withhold estate property from the trustee pending the
11   allowance or disallowance of a lien.
12              The debtor’s indisputable duty is turn over estate property
13   to the trustee, lien or no lien.        11 U.S.C. §542; 11 U.S.C. §521(a)(4).
14   The debtor’s efforts to use the lien ostensibly held by David Swartz
15   to withhold estate property from the trustee is misguided at best.                 At
16   the other end of the spectrum, it is a felony.             18 U.S.C. §152(1).      In
17   between, it is grounds to deny the debtor’s discharge.                      11 U.S.C.
18   §727(a)(2).
19              WHEREFORE, the      trustee prays        for   the entry    of   an order
20   compelling the debtor to turn over to the trustee all of the proceeds
21   received from the sale of the 2009 Mercedes.
22              DATED October 22, 2018.
23                                      TERRY A. DAKE, LTD.
24                                      By      /s/ TD009656
                                             Terry A. Dake
25                                           20 E. Thomas Rd.
                                             Suite 2200
26                                           Phoenix, Arizona 85012-3133
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2    Copy mailed on October 22, 2018 to:
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     Fax : 480-614- 9414
6    Email: kyle@kinneylaw.net
7     /s/ TD009656
8

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